        Case 2:20-cv-05996-DSF-KS Document 1 Filed 07/06/20 Page 1 of 14 Page ID #:19
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17                                                       Jury Trial Demanded                          PAID
18                           DEFENDANT(S).         ~
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20 I~                                                                                           CIerK, U5 district
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                                           I. JURISDICTION
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22                1. This Court has jurisdiction under
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 1                                            II. VENUE
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 3                2. Venue is proper pursuant to
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                                            III. PARTIES
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 1                          IV. STATEMENT OF FACTS
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  A notary public or other officer completing this certificate verifies only the identity of the individual who signed the
  document to which this certificate is attached, and not the truthfulness, accuracy, or validity of that document.

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who proved to me on the basis of satisfactory evidence to be the persons) whose names) is/are
subscribed to the within instrument and acknowledged to me that he/she/they executed the same in
his/her/their authorized capacity(ies), and that by his/her/their signatures)on the instrument the person(s),
or the entity upon behalf of which the persons) acted, executed the instrument.
                                                                                   certify under PENALTY OF PERJURY under the laws
                                                                                 of the State of California that the foregoing paragraph
                                                                                 is true and correct.
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                                                                              Signature

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 Dear Governor Gavin Christoper Newsom,

 Your declaration. of a State of Emergency for the COVID-19 diagnosis criteria for a series of pneumonia
 and influenza related symptoms and the allegations of the existence of a "novel coronavirus" is based on a
 series of assumptions that are patently false.

     1. According to the International Committee on Taxonomy of Viruses'(ICTV)Coronaviridae
        Study Group(CSG)publication on March 2, 2020, the preliminary data suggesting that there was
        sufficient variation to determine this to be a novel virus vs. a mutation of known coronaviruses,
        was not based on established scientific principles but was responsive to the World Health
        Organization's prior unfounded declaration of novelty of both the virus and a new disease;
     2. There could be no independent verification of the epidemiologic models predicting dire infection.
        and mortality rates as the underlying models and data were not published, and when sought, were
        reportedly corrupted so as to make their examination impossible;
     3. In violation of State law, no medical. or scientific evidence was provided to establish even causal
        links between the SARS CoV-2 and the symptoms ofCOV1D-19, relying instead on foreign
        government 1learsay and conjecture;
     4. Since 2003,the U.S. Department of Health and Human Services and their subordinate
        organizations —the National Institute of Allergy and Infectious Diseases(NIA1D)a~~d the Centers
        for Disease Control and Prevention(CDC)— maintained a patent preventing any independent
        organization from testing for the presence of coronavirus transmissible to humans through 2018
        resulting in a complete lack oftesting technologies;
     5. No State official reviewed for accuracy or veracity any of the causal statements made in the
        Declaration of Emergency which contain false, misleading, and terror inducing statements;
     6. In violation of well-established legal precedent from Jew Ho v. Williamson, 103 F. 10, 26
       ( C.C.N.D. Cal. 1900) and subsequent public health law, arbitrary and capricious rulas were
        inflicted upon a part ofthe population that were not applied generally, resulting in the unlawful
        confinement of a healthy population with no basis in science or fact;
     7. The Governor failed to provide adequate testing to confirm or deny the presence or absence of"a
        novel coronavirus" and, based on recent reports from testing ofincarcerated persons reported by
        Reuters, 96% of prisoners testing positive for coronavirus are asymptomatic, demonstrating a
        failure to establish even a statisticallink between the virus and the disease;
     8. Neither the Governor nor any public health officer has followed evidence-based, peer-reviewed,
        clinical science showing that neither social distancing(of up to 6 feet of separation), nor the
        wearing of masks has any clinical effect in a healthy population and that instituting such policies
        is exclusively for the inducement of fear and terror in the population;

 As result of these and other established facts, your orders and those that follow from these orders issued
 in violation of the State Constitution, are illegal and unenforceable. 1 hereby demand that you
 immediately cease and desist in your suspension of my Constitutional rights and those ofthe common
 citizenry.



 Sincerely,
                                                                                       GLORIA JEAN MASSEY CHINEA

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                                                                                         Notary Public -California
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 For your reference, please review the following facts:

 Assertion:

On April 25,2003, the United States Department of Health and Human Services Centers for Disease
Control and Prevention (hereinafter,"CDC")filed an application for a United States (Application Number
Coronavirus isolatedfrom humans". Claim 3 — ZIS46592703P, subsequently issued as U.S. Patent
7,776,521) entitled "A method of detecting a severe acute respiratory syndrome-associated coronavirus
(SARS-Co V} in a sample...; and, Claim 4 - A kit for detecting a severe acute respiratory syndrome-
associated coronavirus(BARS-Co U) in a sample..., provided the CDC with a statutory market exclusion
right for the detection of and sampling for severe acute respiratory syndrome-associated coronavirns
(SARS-Coif.Securing this right afforded the CDC exclusive right to research, commercially exploit,
or block others from conducting activities involving SARS-CoV since 2003. On September 24, 2018,
the CDC failed to pay the required maintenance fees on this patent and their rights expired with no
notification issued by CDC alerting the private sector to this decision.

 From Apri12003 until September 2018, the CDC owned SARS-CoV,its ability to be detected and
 the ability to manufacture kits for its assessment. During this 15-year period, the effect of the grant
 of this right --ruled unconstitutional in 2013 by the United States Supreme Court in the case of
 Association for Molecular Pathology et al. v. Myriad Genetics —meant that the commercial
 exploitation of any research or commercial activity in the United States involving SARS-CoV would
 constitute an infringement of the CDC's illegal patent.

 It appears that, during the period of patent enforcement and after the Supreme Court ruling confirming
 that patents on genetic material were illegal, the CDC and National Institute of Allergy and Infectious
 Diseases led by Anthony Fauci (hereinafter "NIAID"and "Dr Fauci", respectively) entered into trade
 among States (including, but not limited to working with Ecohealth Alliance Inc.) ar~d with foreign
 ~a~ie~s national entities (specifically, the Wuhan Institute of Virology and the Chinese Academy of
 Sciences) through the 2014 et seq National Institutes of Health Grant RO 1 AI]. 10964, to exploit their
 patent rights.

 It further appears that, during the period of patent enforcement and after the Supreme Court ruling
 confirming that patents on genetic material was illegal, the CDC and National Institute of Allergy and
 Infectious Diseases (hereinafter "NIAID)entered into trade among States (including, but not limited to
 working with University ofNorth Carolina, Chapel Hill) and with foreign nations (specifacadly, the
 Wuhan Institute o,f'Virology and the Chinese Academy ofSciences represented by Zheng-Li Shi) through
 U19AI109761 (Ralph S. Baric), U19AI107810(Ralph S. Baric), and National Natural Science
 Foundation of China Award 81290341 (Zheng-Li Shi) et al. 2015-20].6.

 It further appears that, during the period of patent enforcement and after the Supreme Court ruling
 confirming that patents on generic material was illegal, the CDC and NIAID entered into trade among
 States (including, but not limited to working with University ofNorth Carolina, Chapel Hill) and with
 foreign. nations to conduct chimeric construction. of novel coronavirus material with specific virulence



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 properties prior to, during, and following the determination made by the National Institutes for Health in
 October 17, 2014 that this work was not sufficiently understood for its biosecurity and safety standards.

 In this inquiry, it is presumed that the CDC and its associates were: a) fully aware of the work being
 performed using their patented technology; b)entered into explicit or implicit agreements including
 licensing, or other consideration; and, c) willfully engaged one or more foreign interests to carry forward
 the exploitation of their proprietary technology when the U.S. Supreme Court confirmed that such patents
 were illegal and when the National Institutes of Health issued a moratorium on such research.

 Reportedly, in January 2018, the U.S. Embassy in China sent investigators to Wuhan Institute of Virology
 and found that,"During interactions with scientists at the WIV laboratory, they noted the new lab has a
 serious shortage of appropriately trained technicians and investigators needed to safely operate this high-
 containment laboratory." The Washington Post reported that this information was contained in a cable
 dated 19 January 2018. Over a year later, in June 2019, the CDC conducted an inspection of Fort
 Detrick's U.S. Army Medical Research Institute of Infectious Diseases (hereinafter "USAMRIID") and
 ordered it closed after alleging that their inspection found biosafety hazards. A report in the journal
 Nature in 2003(423(6936): 103) reported cooperation between CDC and USAMRIID on coronavirus
 research was followed by considerable subsequent collaboration. The CDC,for what appear to be the
 same type of concern identified in Wuhan, elected to continue work with the Chinese government while
 closing the U.S. Army facility.

 The CDC reported the first case of SARS-CoV like illness in the United States in January 2020 with the
 CDC's Epidemic Intelligence Service reporting 650 clinical cases and 210 tests. Given that the suspected
 pathogen was first implicated in official reports on December 3l, 2019, one can only conclude that CDC:
 a)had the mechanism and wherewithal to conduct tests to confirm the existence of a "novel coronavirus";
 or, b)did not have said mechanism and falsely reported the information in January. It tests credulity to
 suggest that the WHO or the CDC could manufacture and distribute tests fora "novel" pathogen when
 their own subsequent record on development and deployment of tests has been shown to be without
 reliability.

 Around March 12, 2020, in an effort to enrich their own economic interests by way of securing additional
 funding from both Federal and Foundation actors, the CDC and NIAID's Dr Fauci elected to suspend
 testing and classify CQVID-19 by capricious symptom presentation alone. Not surprisingly, this was
 necessitated by the apparent fall in cases that constituted Dr. Fauci's and others' criteria for depriving
 citizens of their 1st Amendment rights. At present, the standard according to State and Territorial
 Epidemiologists Interim-20-ID-01 for COVID-19 classification is:

         In outpatient or tele-health settings at least two ofthe following symptoms must be indicated:
         fever(measured or subjective), chills, rigors, myalgia, headache, sore throat, new olfactory and
         taste disorders)

         OR

         at least one ofthe following symptoms must be indicated: cough, shortness of breath, or difficulty
         breathing OR Severe respiratory illness with at least one ofthe following:

    • Clinical or radiographic evidence of pneumonia, or
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    • Acute respiratory distress syndrome CARDS).
      AND No alternative more likely diagnosis

         Laboratory Criteria for Reporting

    • Detection of SARS-CoV-2 RNA in a clinical specimen using a molecular amplification
      detection test.
      Detection of specific antigen in a clinical specimen.
    • Detection of specific antibody in serum, plasma, or whole blood indicative of a new or
      recent infection serologic methods for diagnosis are currently being defined

 After inflicting grave hann to the people ofthe United States of America through economic hardships
 resulting from ~ke~ allegations of an "epidemic" or "pandemic", the CDC and the NIAID set forth, and
 the President of the United States and various Governors in the respective States promulgated, standards
 for lifting restrictive conditions which. are in violation ofthe 1st Amendment to the Constitution and
 serve exclusively to enrich themselves. Both the presence of a vaccine or treatment and, or, the
 development oftesting — each of which solely benefit the possible conspiring parties and their co-
 conspirators —are set forth as a condition for re-opening the country. This appears to be an unambiguous
 violation ofthe Sherman Act and, if so, should be prosecuted immediately to the full extent ofthe law.

 The CDC and WHO elected to commit to a narrative of a novel coronavirus —exhibiting properties that
 were anticipated in the U.S. Patent 7,618,802 issued to the University of North Carolina Chapel Hill's
 Ralph Baric —and,in the absence oftesting protocols, elected to insist that SARS-CoV-2 was the
 pathogen responsible for conditions that were consistent with moderate to severe acute respiratory
 syndrome.

 U.S. Constitution:

 Article One. Section 8, clause 8,

 To promote the progress ofscience and useful arts, by securing for limited times to authors and inventors
 the exclusive right to their respective writings and discoveries

 By Renewing their Illegal Patents on k'ebruary 17, 2014 the CDC violated Article 1, Section 8, Clause
 8 of the U.S. Constitution

 By Renewing their Illegal Patents on February 17,2014 the CDC willfully violated the law using tax-
 payer funds in light of the Supreme Court ruling on June 13,2013

 Article One, Section 9, clause 2,

 Which states that "The privilege ofthe writ of habeas corpus(a recourse in law challenging the reasons or
 conditions of a person's confinement)shall not be suspended, unless when in cases of rebellion or
 invasion the public safety may require it."

 THERE IS NO CLINICAL DATA SHOWING THAT THE "RESTRAINT OF HEALTHY
 INDIVIDUALS" HAS ANY EMPRICAL DATA SUPPORTING ITS USE. NO EVIDENCE
 SUPPORTING EMERGENCY DECLARATIONS HAVE BEEN OFFERED WITH THE EXCEPTION

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 OF STATEMENTS MADE BY COLLUDING PARTIES SEEKING TO BENEFIT FROM
 VACCINATIONS, TESTING OR THE COMBINATION —NEITHER OF WHICH CAN BE
 REASONABLY EXPECTED GIVEN THE PATENTS GRANTED TO AND HELD BY THE
 COLLUDING PARTIES.

 The Sherman Act and Clayton Act violations consist of receiving and directing funding only to
 those parties colludins around the infrineement of the CDC's ille¢al patent.

 • CDC; NIAID; University of North Carolina, Chapel Hill; Wuhan Institute of Virology; National
 Institutes of Health; U.S. Department of Health and Human Services; President's Task Force; Governors
 except North Dakota, Nebraska, Arkansas, Utah, Wyoming, South Dakota., and Oklahoma

 Possible violation of 15 U.S. Code & 19

 • Dr. Fauci is on the Leadership Council ofthe Bill and Malinda Gates

 • Global Vaccine Action Plan

 DOMESTIC TERRORISM -Still in Effect Until March 15,2020

 Section 802 of the USA PATRIOT Act(Pub. L. No. 107-521 expanded the definition of terrorism to
 cover ""domestic,"" as opposed to international, terrorism. A person engages in domestic terrorism if they
 do an act "dangerous to human life" that is a violation of the criminal laws of a state or the United States,
 ifthe act appears to be intended to:(i)intimidate or coerce a civilian population;(ii) influence the policy
 ofa government by intimidation or coercion;

 Lastly, current policing, fining, arrests and harassment throughout the country and CA/Orange County in
 this case, is in violation of not only First Amendment "abridging the right of people to peaceably
 assemble" but more narrowly:

 Title 18 U.S.C.. Section 242 Deprivation _ofRishts Under Color of Law:

 Whoever, under color of any law,statute, ordinance, regulation, or custom, willfully subjects any
 person in any State, Territory, Commonwealth,Possession, or District to the deprivation of any
 rights, privileges, or ymmunities secured or protected by the Constitution or laws of the United
 States, or to different punishments, pains, or penalties, on account of such person being an alien, or
 by reason of his color, or race, than are prescribed for the punishment of citizens, shall be fined
 under this title or imprisoned not more than one year, or both; and if bodily injury results from the
 acts committed in violation of this section or if such acts include the use, attempted use, or threatened use
 of a dangerous weapon, explosives, or fire, shall be fined under this title or imprisoned not more than ten
 years, or both; and if death results from the acts committed in violation of this section or if such. acts
 include kidnapping or ~n attempt to kidnap, aggravated sexual abuse, or an attempt to commit aggravated
 sexual abuse, or an att~rnpt to kill, shall be fined under this title, or imprisoned for any term cif years or
 for life, or both, or may be sentenced to death.

 As a concerned Patriot, proud American and citizen of this country/county, I willfully submit the above
 statements for your consideration. It is my assertion that the above facts must be considered for the


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 immediate removal and suspension of any and all continued unlawful, unconstitutional and draconian
 measures adversely affecting citizens. Henceforth any measures related to and known as `shelter in place,'
 quarantine, `non-essential' work, social distance, and the closure of public spaces will be considered
 unconstitutional and nothing more than an unlawful attempt at `social engineering.' Finally, I request your
 support and immediate investigation of any `sworn' Governmental official at local, State or Federal levels
 for their willfully complicit or knowingly criminal misconduct of their Constitutional duties in the service
 oftheir office.

  In closing, I welcome your correspondence and am hopeful that you take this matter seriously on behalf
  of my family and fellow US citizens currently being impacted by the `illegal' actions outlined above.
  Lastly, I will be submitting this same letter to all related local, State and Federal Gov't representatives
  including the Attorney General for considered legal action on behalf of myself and fellow citizens.

 Sincerely yours,



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